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           EXHIBIT 1
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                                                                                        Susan Beaty <susan@ccijustice.org>



Scheduling Additional Legal Visits [IMAN-DMS.FID66630]
DUB-ExecAssistant-S (BOP) <DUB-ExecAssistant-S@bop.gov>                                   Sat, Dec 23, 2023 at 3:04 PM
To: Kara Janssen <KJanssen@rbgg.com>
Cc: Susan Beaty <susan@ccijustice.org>, "Mattioli, Madison (USAMT)" <Madison.Mattioli@usdoj.gov>, "Tatarka, Tim
(USAMT)" <Tim.Tatarka@usdoj.gov>, "Smith, Mark (USAMT)" <Mark.Smith3@usdoj.gov>

 Good afternoon,
        FCI Dublin can accommodate your request for legal visitation Tuesday, January 2, 2024,
 from 9:00 am to 1:00 pm. Please take note, December 30, December 31, and January 1 are
 considered social visitation days (weekends/Federal Holiday). You are welcomed to participate in
 social visitation; however, the facility cannot guarantee privacy/confidentiality during social visiting hours.
 Based upon our updated Institution Supplement 5267.09(a) you will be required to adhere to the
 following:

  "Visiting in-processing will begin at 7:15 a.m. Visiting processing will be closed from 9:30 a.m. to
 11:00 a.m. for count-time (Visitors are NOT permitted to wait in the lobby during this time). Visiting
 in-processing will conclude at 12:30 p.m. At the FCI and SCP, due to limited visiting space,
 inmates will be allowed only five visitors/seats per visit. Visits for inmates assigned in the Special
 Housing Unit {SHU) are limited to two visitors. Visiting for inmates in SHU will take place via video-
 visit, at the video station in the SCP Visitor's Building."

 Sincerely,
 Executive Assistant
 FCI Dublin

 From: Kara Janssen <KJanssen@rbgg.com>
 Sent: Thursday, December 21, 2023 7:42 PM
 To: DUB-ExecAssistant-S (BOP) <DUB-ExecAssistant-S@bop.gov>
 Cc: Susan Beaty <susan@ccijustice.org>; Mattioli, Madison (USAMT) <MMattioli@usa.doj.gov>; Tatarka,
 Tim (USAMT) <TTatarka@usa.doj.gov>; Smith, Mark (USAMT) <MSmith4@usa.doj.gov>
 Subject: [EXTERNAL] Scheduling Additional Legal Visits [IMAN-DMS.FID66630]

 Thank you for facilitating our legal visits this week. We are writing to schedule an additional visit for Tuesday January 2,
 2024. Please let us know if the facility can accommodate this request.



 We will also need one additional day to visit and can do so on either Saturday the 30th, Sunday the 31st, or Monday the
 1st. Please let us know if the facility can accommodate a visit on one of these days.



 We can send you the list of people to be visited and attorneys attending once we have the dates confirmed.



 Thank you for your assistance,



 Best,
                 Case 4:23-cv-04155-YGR Document 79-2 Filed 12/28/23 Page 3 of 3
Kara Janssen
Senior Counsel




101 Mission Street, Sixth Floor

San Francisco, CA 94105

(415) 433-6830 (telephone)

(415) 433-7104 (fax)

kjanssen@rbgg.com



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